                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 TIMOTHY CHARLES                                   )
 HOLMSETH,                                         )
                                                   )
         Plaintiff,                                )      No. 3:22-cv-00912
                                                   )
 v.                                                )      JUDGE RICHARDSON
                                                   )
 LEVI HENRY PAGE, et al.,                          )
                                                   )
         Defendants.                               )

                                              ORDER

       Plaintiff Timothy Charles Holmseth filed a rambling, ninety-page Complaint purportedly

arising under the Racketeer Influenced and Corrupt Organizations Act. (Doc. No. 1.) The Court

ordered Plaintiff to file an Amended Complaint that “includes simple, concise, and direct factual

allegations sufficient to demonstrate a plausible, non-speculative right to relief.” (Doc. No. 4.)

Thereafter, Plaintiff filed a largely incomprehensible, sixty-page Amended Complaint (Doc. No.

7) that plainly failed to comply with the Court’s Order. In an abundance of caution, the Court

allowed Plaintiff one final opportunity to submit a Second Amended Complaint that complies with

Federal Rule of Civil Procedure 8. Id.

       In response, Plaintiff submitted a fifty-eight page Second Amended Complaint. (Doc. No.

14.) This significantly duplicative submission fares no better than Plaintiff’s prior pleadings. The

Second Amended Complaint remains a prolix, difficult-to-comprehend narrative “heavily-laden

with irrelevant discussion, sweeping conspiracy theories, and personal attacks.” (See Doc. Nos. 4,

10.) In short, the Second Amended Complaint does not include “simple, concise, and direct”

factual allegations sufficient to demonstrate a plausible, non-speculative right to relief against any

Defendant. Fed. R. Civ. P. 8. Rather, the rambling factual allegations and unexplained, interspersed



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exhibits once again fall “well short of demonstrating a plausible right to relief against

Defendants.”1 (Doc. No. 10.)

        The Second Amended Complaint is, therefore, subject to dismissal. Fed. R. Civ. P. 8.

Moreover, the Court has now indulged Plaintiff with three opportunities to submit a pleading that

passes muster under the Federal Rules, expressly advising that failure to comply would result in

dismissal. (Doc. Nos. 4, 10.) Plaintiff, however, has not evinced a serious intent to comply with

the Court’s Orders or submit a pleading that demonstrates a plausible, non-speculative right to

relief. For these reasons, this case is DISMISSED WITHOUT PREJUDICE. This form of

dismissal allows Plaintiff to initiate a new federal action regarding these or other matters, subject

to all applicable rules (including Rule 8) and time limits.

        IT IS SO ORDERED.




                                                   ________________________________
                                                   ELI RICHARDSON
                                                   UNITED STATES DISTRICT JUDGE




1
  Plaintiff has separately submitted two documents: (1) an apparent letter to former President Trump’s
counsel (Doc. No. 12), and (2) a brief affidavit that appears to assert that Plaintiff has received threats from
unnamed persons (Doc. No. 15). Neither aid the Second Amended Complaint.

                                                       2

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